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Attachment 1 (20220505)
Eyewitnesses and Suspicious Actors (SAs)

1-#LemonZest (Unidentified) 1
2-#LemonyKickit (Unidentified) 2
#LemonZest and #LemonyKickit appear to work together as a tactical unit pursuing common
goals with other tactical units and independents coming from other areas.




#LemonyKickit and #LemonZest were very active at the initial line breaches and wandered
around waiting for orders. Here #Lemony (below) converses with a man on a satellite phone
around organized efforts to remove signage and fencing as organized efforts move people up to
the Capitol in graduated step downs.




1
 For simplicity and to tie material witness and SA information in this memo to a categorization
system pioneered by SeditionHunters.Org we use its hashtag tagging and name convention
system where possible.
2
 https://rumble.com/vjm7xj-lemonykickit-capitol-riots.html
;https://docs.google.com/spreadsheets/d/1J9CxEm0uq5yu5lZZE8CJOng4qvZ8lOMqtMhA2Vs7
5WY/edit#gid=0

                                               1
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1-#LemonZest and #LemonyKickit then breached the Senate gates and met SAs on the East
Steps (foreground). Few of these individuals below have been publicly identified or charged.




They then pushed through on the steps and coordinated and engaged in skirmishing in front of
the Columbus Doors. After completing their work, both split up and exited. Here
#LemonyKickit (below) exits after swapping hats to disguise his appearance.




                                               2
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3-Ronald Loerke a/k/a/ #MaroonPB (Charged; unknown detention status)




        Loerke operates with 21-#ZZTopPB James Haffner (below). Loerke and Haffner played
a leadership role in key access points on January 6th and were active in and around the Columbus
Doors. Loerke and Haffner arrived at the grassy area to the East of the Capitol with a column of
Proud Boys prior to 12:30 am. At 12:55pm – Loerke is at the First Barricade Breach on
Pennsylvania Walkway with 32-Ray Epps, 10-Timothy Allen Hart, 31-#TealScrambler and
others. At 12:56pm – he is at the Second Barricade Breach. At 12:58pm – he is at West Plaza
Barricade Breach at which time he leaves to join up with #LemonyKickit, #LemonZest and other
SAs. Loerke makes an impromptu speech on his way to the East.
        Haffner is seen to exit an area on the North side onto Capitol grounds just prior to Loerke
arriving to remove fencing and signs under observation of police. He and Haffner walk are
observed as an advance team that takes down and throws barriers at the Senate entrance and then
removes barriers with #LemonyKickit and #LemonZest. With police Loerke and Haffner then
lead a column of SAs which is filmed by 5-#RedYuppyPhotog. Loerke and Haffner join other
SAs in removing barriers 3 and then they move towards the East steps where Loerke initially
distracts police on post at the South side of the steps and then engages with police on the North
side of the steps. They then help “break through” police on the East Steps. Haffner and Loerke
are key SAs in front of the Columbus Doors and helped clear police and any residual rally


3
 As SAs are led in by #LemonyKickit and other SAs this video shows Haffner at work.
https://twitter.com/capitolhunters/status/1402068263828295680?s=20
                                                 3
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attendees from the front prior to the Oath Keepers arrival. Both SAs then entered the Capitol
during Opening 2 and greeted other SAs from the West.


4-#GooseinGrey (Unidentified)
#GooseinGrey facilitates rally attendees in the East side by removing fencing within control of
Police, he pushes through with SAs on the East Steps, he is active in front of the Columbus
Doors and he steals a shield and skirmishes with police and skirmishes inside Congress.




The 3-Loerke/21-Haffner tactical team and the 2-#LemonyKickit/1-#LemonZest tactical team
converge to remove Senate access point barriers (below) and lead a column of SAs to the East
Steps with USCP also at the head of the column.




                                                4
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5)     5-#RedYuppyPhotog (Unidentified)
Wears an earpiece and films the column of SAs being let in through the Senate checkpoint and
material witnesses and/or SAs including 1-#LemonZest; 2-#LemonyKickit; 3-#Maroonpb
(Loerke); 21-#ZZTopPB (Haffner), 4-#GooseinGrey, 37-#SmokyInsider, 46-#Frizz and others
including 36-#PencilBeardInsider, #60-RedDevil, and #18-GadsdenPouch fanned out to the
column’s Northeast on the way to the East Steps. 5-#RedYuppyPhotog coordinates with these
and other SAs in front of the Columbus Doors prior to the Oath Keepers. He is observed to film
when rally attendees engage in provocateur activity, he changes his appearance, he confers with
SAs from other areas, and he films police attacks, taking direction from 6-Lawrence Ligas and
others, while appearing to receive communications in real time.




                                               5
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 6.    Lawrence Ligas (identified 1/21; charged late 11/21 with misdemeanors)




                                     6
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        Ligas was not charged until December, 2021 (with misdemeanors) after being reportedly
identified in late January 2021. Moments prior to being ushered in front of the Columbus door--
one minute prior to Columbus Door Opening 2—Lawrence Ligas (in disguise) may have
engaged Co-Defendant James Dolan while #Insider486 (behind blue flag) may have engaged
Ken Harrelson. Simultaneously, #PreyingSnake and his two unidentified co-conspirators may
have engaged the remaining Oath Keepers. This photo catches the moments after the entire
crowd sang the National Anthem. Other video documents show that this was cued by 12-
#Insider275, in front of the Columbus Doors. The National Anthem was begun around the time
the Oath Keepers arrived at the bottom of the East Steps. This visual information may suggest
operational sequencing that may have included an effort to lead, pretext, lull, escort and usher the
Oath Keepers to the Columbus Doors.



A-Harrelson and 22-#Insider486            6-Ligas and B-Dolan         9-#PreyingSnake & OK’s




        Earlier in the day, prior to the President’s speech, 6-Ligas appeared in the morning in
front of the East Steps where a gaggle of SAs had appeared and where USCP later stacked its
resources. Below 6-Ligas walks past 15-#BullhornEagle, 9-#PreyingSnake, 14-#PasterBill and
other SAs, holding his wig cap and phone. Soon, 6-Ligas would be interviewed by George Webb
where he discussed his motives. 4
        President Trump is yet to speak at the ellipse. After altering his appearance, Ligas is later
interviewed in front of the Columbus Doors exhibiting awkward speech patterns and mannerisms
in an interview with Bangumi. 5



4
    https://www.dropbox.com/s/t7y6btieqixjfix/GeorgeLarryWithoutDisguise2100.mp4?dl=0
5
    REDACTED


                                                 7
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        Before the key moments pictured above, 14-#PasterBill spent the morning giving
speeches and engaged in a lulling exercise with participation of USCP where he blared on his
bullhorn the message from a USCP officer. 6 This was then echoed on bullhorn by conspirator
44-#NewBible with interplay between #15-BullhornEagle, 16-#Clayton and others. 7 The
impression a rally attendee might have come away with from this coordinated messaging—now
unearthed on video being facilitated possibly knowingly by USCP—as the crowd en mass played
the children’s game “telephone” and spread the message far and wide--was that USCP was
seeking permission to march to the East Steps. This refrain is heard elsewhere around the Capitol
suggesting a concerted plan.




       Later (below), 6-Ligas with SAs including , #BigOrangeBrawler (in orange) pushed
through temporary barriers while others, including 15-#BullhornEagle, 14-#PasterBill and 9-
#PreyingSnake, directed the activities and concealed the barriers. 15-#BullhornEagle and 17-
Edward McAlanis (sentenced to probation on misdemeanors) who may have witnessed and/or
coordinated these efforts with the breakthrough that comes from the Senate entrance side from
the SA group (1, 2, 3 and 21) that had its origins at the 32-Ray Epps initial access point.
        24-Megan Paradise, who appears from video to engage in parallel conduct with 32-Epps
in the morning using identical language at the ellipse, is heard to state on bullhorn in front of the
East Steps “c’mon guys, they are breaking through in the West” approximately three minutes
before presumptive SAs battled up into the scaffolding in the West. This coincided with jostling
the barriers in the East. Just prior to the SAs pushing through around 6-Ligas, possibly timed to
coincide with SAs pushing through the Senate access point just as a last motorcade government

6
    https://www.dropbox.com/s/b7ttexzwth8v2gz/FFG%20Ex5-3%20%281%29.mp4?dl=0
7
 https://www.dropbox.com/s/npuuot32cu4m9bh/Exhibit%206%20Twitter%20%28public%29%2
0large%20force%20of%20provacateurs%20Jan%206%20morning.mp4?dl=0

                                                  8
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SUV’s rolled out, 24-Paradise can be heard to say on bullhorn: “you guys better f***** join us
in the thing!”




#15-BullHorn Eagle in front of the East Steps may be looking for SAs expected to be breaking
through the Senate access point.




After the initial barriers are pushed through, 17-McAlanis, 16-“Clayton” and 14-#PasterBill
reach the South side of the East steps first in a phalanx with other SA influencers and inciters
(below).




                                                 9
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Once at the East Steps, 6-Ligas may be seen searching the crowd. Later, 6-Ligas pushes in the
SA scrum. To his left is 50-#LookoutGrey who earlier appears to have assisted in pushing
Defendant Dolan into a staged altercation with a police officer who also seems to have been
pushed below the police line and he later functions as a lookout standing on an East column. He
is surrounded by SAs most of whom have not been publicly identified.




                                   REDACTED




With the outer Columbus doors still closed, 15-#BullhornEagle (leader of SAs in front of East
steps) meets up with 2-#LemonyKickit (Senate access point).

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                                  REDACTED



In the photo below and off camera we have along the inner edge 2#LemonyKickit,
1#LemonZest, 37-#SmokyInsider, 36-#PencilBeardinsider, 15-#BullhornEagle, 16-#Clayton, 4-
#GooseinGrey, 18-#GadsdenPouch and others.




As 15-#BullhornEagle looks back, Ligas accesses his phone and a screen saver is briefly shown
of an individual who appears to be graduating from a military academy.




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                                   REDACTED



8




Below, just prior to Door Opening 1, SAs surround police officers at the North side of the door
and usher them off to the side.




                                   REDACTED




       6-Ligas directs the activities for a period after 15-#BullhornEagle entered the Capitol
during Opening 1 when the door was opened by 38-George Tenney. Here Ligas looks on
passively as 19-#JamesDeanWannabe hoses down the front of the door including police officers

8
    (210107 Laura Bangumi USA Capitol Washington video [under seal])
                                               12
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along with 3-Ronald Loerke, 21-James Haffner, 2-#LemonyKickit, 1#LemonZest, 4-
#GooseinGrey, 8-#Insider486 and other SAs. Earlier, 19-#JamesDeanWannabe seems to work
with SAs attempting to push Oath Keeper James Dolan at a police officer who was being
surrounded and pushed towards Dolan on the East Steps. 19-#JamesDeanWannabe holds the
only Confederate flag evident on video that is in front of the Columbus Door, he leads vicious
attacks by SAs on police with chemicals and mace, he moves through the crowd of SAs
effortlessly and darts into the Capitol during Opening 2 and violently pulls people into the
Capitol. 9 Videotape now can tell the story that documents none of the instant charged defendants
were there or participating.

                                   REDACTED




9
 #JamesDeanWannabe is circled in red:
https://www.dropbox.com/s/assx1fbtu1206l4/ATQfd.haa.mp4?dl=0

                                               13
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                                  REDACTED

Here 6-Ligas, gives directorial advice to 5-#RedYuppyPhotog who earlier filmed the SAs
entering from the Senate checkpoint filming mace attacks on police while SAs look on. 7-
#Insider1340 is ever present including when the Oath Keepers protected Officer Harry Dunn.




                                  REDACTED




After 6-Ligas takes brief command and control of SAs in front of the door, he changes position
and hands control off to 12-#Insider275. By now, 6-Ligas has now moved over to 26-
#FlightDeckControlChief around where the Oath Keepers are brought in minutes. In the
foreground, 7-#Insider486 moves in to intercept the Oath Keepers who have now entered the
Capitol Complex. As B-Meggs and the OathKeepers arrive at the bottom of the steps, 12-
#Insider275 cues the National Anthem sequence. When the crowd gets to the last line of the

                                              14
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Anthem, 6-8 SAs spray down the front area with chemicals to incapacitate and confuse police
while clearing the area of any non-SAs.




                                    REDACTED




Ligas and 126-#FlightDeckControlChief stand at the base discussing last details while #27-
GardenGloves waits in position. Earlier, prior to pushing through initial barriers in front of the
East Steps, #GardenGloves accompanied #PasterBill and #44-NewBible to meet with the
Arizona Proud Boys. 10




10
  0932_USCG_00_CVC_Elevator_Tower_South_-_2021-01-06_16h46min30s (@1:11 center of
screen).
                                                 15
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As the Oath Keepers get to the bottom of the steps, 12-#Insider275 has already begun the
National Anthem sequence and 9-#PreyingSnake shadows the Oath Keepers and gestures to
confederates to push up. 11
B-Meggs with Oath Keepers in tow comes up behind 10-Timothy Allen Hart who turns right and
begins filming. #Insider486 steps towards Meggs and Meggs turns left to move towards A-
Harrelson and B-Dolan. A second later, #Insider486 zips over behind Harrelson.




11
 @ 20 seconds. https://www.dropbox.com/s/gddi98bax2j69ed/WKnkimx6Y2Zgo-
WefltD4MF3KOx_PiL6weo2EGBQ8__C.mp4?dl=0

                                             16
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This is what is occurring in front of the Columbus Door while everyone is singing the National
Anthem Sequence led by #Insider275.




“…and the Rockets’ red glare, the bombs bursting in air…”

                                               17
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While most shots of 8-#Insider486 and A-Harrelson are obscured by 13-#Flagman who pulls his
flag out from his back and holds it up, photographic and video evidence shows an exchange.
The photos below captures A-Harrelson and C-Meggs conferring after #Insider486 is seen
talking behind him. While this is happening police in front of the Columbus Doors are being
hosed down with mace and the crowd of SAs is roiling to prepare for Opening 2 and the Oath
Keeper ambush.




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                               “And the Home … of the … Brave”
As many as six (6) to eight (8) SAs including 22-James Haffner and #JamesDeanWannabe hose
down the police with mace and chemicals. The dynamic of the crowd make this almost invisible
or fleeting to almost all publicly available camera angles so most people in the crowd could not
have known these chemical assaults occurred and certainly no one could have known who was
standing on the steps which is where the Oath Keepers were positioned at exactly this moment.




                                                                                   12




12
     https://twitter.com/capitolhunters/status/1466930502552723462?s=20



                                                19
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Moments later, the Oath Keepers are led to the right of the column on the right. The photo
below shows what they would have seen from the perspective of a selfie stick held aloft. You
can see that the broken windows (now observable as having been broken by 37-#smokyinsider,
36#pencilbeardinsider and at least a third unidentified person) cannot be observed by someone
standing here even with a field of view at ~12-15’ high. Vision is still blocked and the Oath
Keepers have approximately one minute until Opening 2 to extricate themselves from the trap in
a deafening environment of spectacle, activity, confusion, and cheering.




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Moments later A- Harrelson has arrived in a channel in the crowd and in front of him is 8-
#Insider486. In front of him (obscured) is D-Defendant Isaacs, then 6-#Lawrence Ligas and #3-
Ronald Loerke are in front of him.




They step up and A-Harrelson is blocked.


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#Insider486 and Ligas and the #PreyingSnake trio lead the group in front of the doors and in the
process of moving forward they pick off Co-Defendant Isaacs and bring him to #Insider1340
over the watchful eye of 26-#FlightDeckControlChief all to chanting led by 24-Megan Paradise.




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6-#Ligas pulls 7-#Insider1340’s torso back so that Issacs can be secured in front of him while
being controlled by 8-#Insider486. At sometime during this period, lookouts on the columns
communicated with organizers around the vehicles that the Oath Keepers were in position and
that the crowd had to be pushed up to create the desired compression to spring the trap in front of
the Columbus doors. 13




13

https://www.dropbox.com/s/zy72ti3js03hu2r/LookoutsTellCOThatOKsAreInPocketHIGHLIGH
TED_FINAL.mp4?dl=0

                                                23
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After Ligas ushers Isaacs to the front of 7-#Insider1340 Isaacs enters the Capitol shortly after
#25-MagaLongPinkie “high-fives” #MolonSmash. In fairness, no one in this area had the
freedom of movement after the crowd compressed.




                                                24
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Rewinding the clock again to the minute during which the door remained closed, Ligas, after
dropping off Isaacs well ahead of the group, makes his way back gesturing to the Oath Keepers
while they walk forward into a crowd channel. Ligas gestures and calls to the OathKeepers.




6-Ligas comes back to form up with the front of C-Meggs and the Oath Keepers. A-Harrelson
broke left behind flags and C-Meggs looks over. Photos and ideos are elevated 3-4 feet above
head level exaggerating field of view. The door is mostly blocked by heads and flags that are
draped that conceal the door. When the door opens the SAs collapse around them.




6-Lawrence Ligas enters while 41-GasMaskTwins, #Insider275 and 29-#insider1022 while 4-
#GooseinGrey and 19-#JamesDeanWannabe confer (off camera).


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Above, the French film crew moves through a channel next to Ligas. Moments later, Ligas is in
front of A-Harrelson who is separated from other OK’s as 9-Preying Snake looks over to A-
Harrelson. 26-#FlightDeckControlChief picks him up and 9-PreyingSnake duo can be seen
adjusting the backpack of 26-#FlightDeckControlChief as the Oath Keepers begin to leave in a
group towards the Rotunda.




                                             27
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Followed into the Rotunda by 9-#PreyingSnake and his two partners and 24-#Megan Paradise,
the Oath Keepers are led in by 6-Lawrence Ligas and are watched by 30-#Insider809 who is also
present later for the Officer Dunn interaction along with 7-Insider1340. 14




14
     https://www.dropbox.com/s/ztln1x5l76ajdks/IMG_5323.MP4?dl=0



                                             28
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As Sgt. Kenneth Harrelson, ret. gets down on his knees to pray in the Rotunda with other Oath
Keepers, he is filmed or livestreamed by #12-Insider275.




                                  REDACTED




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7-#Insider1340 (Unidentified)
Very active on East Steps and is in front of the Columbus Door where he took custody of Oath
Keeper Isaacs. #Insider1340 was present when the Oath Keepers came to the defense of Officer
Dunn. After Ashli Babbit was shot dead, he is seen to form up and exit hastily from the building
with #PreyingSnake and others. 15




8-#Insider486 (Unidentified)




Skirmished, attacked police, maced police, got maced, retreived the Oath Keepers and, after the
Oath Keepers were led onto the Columbus Door level, he helped separate and seal off Defendant
Isaacs to ensure that the remainder of the Oath Keepers were enticed to follow.


9-#PreyingSnake and Associates (Unidentified)
#PreyingSnake and his two unidentified friends. Assisted in #PastorBill’s Hallelujah Chorus in
the morning, helped break through the initial barriers, engaged in strange exchanges involving
backpacks, stood on vehicles and waved flags, shadowed the Oath Keepers when they walked up
the steps and he signaled to confederates down below to move the crowd up. On the East Stairs
he assumed a position at the Northeast lower edge of Oath Keepers, and then helped flush the
Oath Keepers up and into the pocket in front of the Columbus Doors. He followed them into the
area between the Columbus Doors and the Rotunda. He adjusted 26-FlightDeckControlChief’s
backpack, followed the Oath Keepers into the Rotunda, and made lulling attempt to get the Oath
Keepers to the House immediately prior to the Babbit shooting.




15

https://www.dropbox.com/s/6s00twauwwlsu1v/preying%20snake%20runs%20after%20ashli%2
0shot.mp4?dl=0

                                               30
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10-Timothy Allen Hart (Charged; unknown detention status)
Identified and charged. Hart was also very active working to breach with 32-Ray Epps’ breach
team that included 3-#Ronald Loerke. Hart may have whistled as a signal to begin the “breach.”




Interestingly, he initially walks in front of the Oath Keepers as they walk up the East Steps, but
he peels off left and then films the Oath Keepers walking towards Harrelson and Dolan. His
activities are extensively documented in charging documents except for his activities on the East
Steps. 16




16
     https://www.justice.gov/usao-dc/case-multi-defendant/file/1408076/download

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11-#ProudDoorSmasher (Unidentified)
#ProudDoorSmasher walks past signs and fencing being removed under a watchful USCP
presence.




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12-#Insider275 (Unidentified)
#Insider275 and #Insider485 prior to the Trump speech in front of the Capitol (left) and in the
Rotunda with #Insider486 in background (right). When the Oath Keepers crossed a checkpoint
near the bottom of the East Steps, #Insider275, at the North side of the Columbus Doors, began
singing the Oath Keepers National Anthem. Later he can be seen high fiving other SAs and
films his quarry while they are praying in the Rotunda.




13-#Flagman (Unidentified)




14-#PastorBill (Unidentified)




15-#BullHornEagle (Unidentified)




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16-#Clayton (Unidentified)




17-Edward McAlanis (sentenced on misdemeanors)




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18-#GadsdenPouch (Unidentified)
      Helped push through an initial police skirmish line on the steps with mostly unidentified
      SAs. He was present when 35-Hunter Allen Ehmke broke the window to the North side
      of the Columbus Doors that may have pretexted police from defending the door. He gave
      a media interview and also took part in the Media attack later that evening with
      #Individual4, #CamCrusher, #GreyPuma, and #MolonSmash and dozens of other
      provocative suspects who are yet to be arrested some of whom were instrumental in
      Opening 2.




                                 REDACTED




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19-#JamesDeanWannabe (Unidentified)




While on the East Steps, 19-#JamesDeanWannabe helped trap Defendant James Dolan into a
tight space with a USCP police officer, and clearly knew many SAs skirmishing in front of the
Columbus doors. He is the SA holding the one Confederate flag for the cameras that is visible in
the East, and he is able to cut through the dense SA crowd with ease. He stands on a column and
sprays chemicals on police and on protestors in front of the Columbus Doors more than once.
He doses the police at the end of the National Anthem led by 12-#Insider275. When the door
opens a minute after the Oath Keepers are ushered to the Columbus Doors level, he shoots in and
can be seen pulling people in violently though the doors. The moment 12-#Insider275 entered
the Columbus Doors.




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After playing a role in ambushing the Oath Keepers, #JamesDeanWannabe changes his
appearance and can be seen on the East Steps.




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20-#GrandpaEarPlugs (Unidentified)



                                 REDACTED



21-#ZZTopPB (James Haffner 17) (Charged; unknown detention status)
https://seditionhunters.org/zztopppb/ See 3-#MaroonPB (Ronald Loerke)(above)




22-#Insider485 (Unidentified)




17
     See Footnote 2.
                                            38
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23-#Insider2316 (Unidentified)




24-Megan Paradise (AFP#9) (identified and uncharged)
Here reportedly photographed while sitting at Speaker Nancy Pelosi’s desk.




       Used a bullhorn and engaged in similar activity as 32-Ray Epps at the ellipse encouraging
everyone to go to the Capitol. Incited rally attendees in front of the East Steps and in front of the
Columbus doors where she exhorted SAs to “break the door” and “steal the shield” during which
4-#GooseinGrey stole a shield. Like 32-Ray Epps, she was telling rally attendees to storm the
Capitol when Trump was done speaking. She makes statements on video suggesting
coordination. She is also very active on the steps, in front of the Columbus door and inside the
Capitol. On a podcast Paradise’s Aunt stated that Paradise had met with the FBI in January 2021
and provided her phone to the FBI. Her Aunt also said that the FBI told Megan to state that her
attorney was working with the police and everything had been taken care of. Despite her
culpability, Paradise has yet to be arrested.




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                                REDACTED




25-#MagaLongPinkie (Unidentified)




Posing as a photographer, #MagaLongPinkie may have been at the #RayEpps breach and, while




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acting as SA photographer, tries to rip the helmet off a police officer with Ronald Sandlin 18. He
hi-fives #MolonSmash 19 as the Columbus door is opened from the inside.




26-#FlightDeckControlChief (Unidentified)




27-#GardenGloves (Unidentified)
Worked closely with 14-#PasterBill and 44-#NewBible




18
     https://www.dropbox.com/s/9dwflib3yp8xpxw/sandlin-degrave_ss_indictment.pdf?dl=0
19
     https://twitter.com/ParlerVideos/status/1381212386338672641?s=20

                                                41
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28-#Motorcycle (Unidentified)




29-#Insider1022 (Unidentified)



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30-#Insider809 (Unidentified)




Communicating on his phone in the rotunda when the Oath Keepers entered. May have
shadowed the OK’s and was present during the exchange when the Oath Keepers came to
Officer Harry Dunn’s defense.


31-#TealScrambler (Unidentified))




#TealScrambler staffed the 32-#RayEpps breach and manned the overlooking wall helping to
boost attendance levels. Attended prior MAGA rallies.


32- Ray Epps “#BigMAGACamo” (an identified organizer and active participant;
uncharged)




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SAs who mixed with Ligas and the group of SAs in front of the East steps also came through the
Epps breach. Epps seems on January 5th and 6th to have engaged in organizing behavior to create
overfill crowd levels at the Capitol. On the night of January 5th, Epps was filmed by Tim Gionet
a/k/a “Baked Alaska” live stream imploring all viewers and everyone around him to “go inside
the Capitol.” 20 IN the morning of January 6, Epps was




33-Tim Gionet 21 a/k/a "Baked Alaska," (Identified, charged with misdemeanors, and is out on
pre-trial release despite presumably violating terms of release 22).
Gionet claims he was told by the FBI to not to come to Washington on January 6, 2021. This
suggests a prior relationship with the FBI. He can be seen with Ray Epps on the night of January
5th. Late in 2020, Baked Alaska can be seen having another “chance encounter” with Ray Epps

20
     https://www.dropbox.com/work/Public?preview=t5Rfd.gaa.mp4
21
  Id.
22
  https://abcnews.go.com/US/wireStory/personality-charged-damaging-hanukkah-display-
81339425; https://www.wusa9.com/article/news/national/capitol-riots/capitol-riot-streamer-
baked-alaska-sentenced-to-30-days-in-jail-in-az-assault-case-tim-gionet-white-nationalist-
groyper/65-e23642de-dd67-4c69-81fd-0f82272d5008
                                               44
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in Arizona at another rally and Gionet has claimed on video he shares the same hometown with
Epps. 23
34-John Sullivan a/k/a “Jayden X” 24 A/K/A “Jayden X” (Identified, charged and out on pre-
trial release 25)




Sullivan founded several activist groups including Insurgents USA. He has a record as an SA,
but may have severed his relationships to Antifa prior to January 6th, 2021. According to his
brother, James, John organized SAs to infiltrate January 6th rally groups where SAs handed out
disguises (MAGA political gear). Prior to January 6, at an event in Provo Utah that he
organized, a motorist was shot and killed. He was arrested and charged. 26 On January 6, 2022,
shortly after Sullivan shared a joke with SA #PencilBeardInsider about a crowbar used to break
the second window in the Columbus door, Ashli Babbit was killed by Capitol Security, that was
captured on film by Sullivan.
35-Hunter Allen Ehmke 27 (charged, status unknown)




23
  https://twitter.com/ShawnWitzemann/status/1495139454444519430?s=20&t=viKcuKGtuSQ2R
2sg_dOu8w
24 Id.
25
   https://www.foxnews.com/us/judge-utah-conditional-release-john-sullivan-bail
26
   https://www.deseret.com/utah/2020/7/10/21320220/organizer-of-provo-protest-arrested-
accused-of-rioting-making-threats
27
     https://twitter.com/rocketman2001/status/1387909817394548740?s=20

                                              45
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36-#PencilBeardInsider (Unidentified)




                                      REDACTED


          #Pencilbeardinsider and conspirators are the actual persons who conspired to damage the
          doors that led to an impression that efforts to breach the door from the outside would
          cause the door to open. This was an elaborate ruse and had the effect of misattributing the
          causation of Opening 1 and 2. Activities inside and outside the Columbus door seems to
          have been primarily driven by SAs that have no connection to Defendant Harrelson and
          Oath Keepers.

          37-#SmokyInsider can be seen gesturing to people inside the Capitol. 28 Later, Police can
          be seen in the Columbus door window 2:19:33 and the officer moves out of the way that
          creates room for SAs. SAs, with police a few feet away, engage in window breaking. 36-
          #PencilBeardInsider watches as 37-#SmokyInsider with an unidentified suspect broke the
          window on the right, moments later #PencilBeardInsider broke the window on the left.


28
     https://www.youtube.com/watch?v=W8Tatqg7kJk


                                                   46
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                                  REDACTED
                                 37-#SmokyInsider



                                                      Police




                                  REDACTED

                                      37-#PencilBeardInsider




37-#SmokyInsider [#SmokeyInsider] (Unidentified)
After Opening 1, 37-#SmokyInsider threw down a police officer 29 and later is near Officer Dunn
when the Oath Keepers came to his defense. He comes from the front of the East Steps,
#PencilBeardInsider walks along the sidewalk from the Senate side opting not to join the column
while #GadsdenPouch splits the distance between the column and #Pencil. They push through
the police line that was led on bullhorn by15-#BullhornEagle and other SAs. There are growing
indications this may have been coordinated with SA activities in the West.
https://seditionhunters.org/pencilbeardinsider/



29
     @1:50 https://www.dropbox.com/s/ty5s4lk29efksxj/GUQfd.gaa.mp4?dl=0

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          Above 36-#PencilBeardInsider (above left) enters the rotunda after passing 38-George
          Tenney who is charged and released on his own recognizance, even though Tenney
          seems to have engaged in aggressive, trained and coordinated behavior in regard to
          controlling and disabling police response. Later 34-John Sullivan films 36-
          #PencilBeardInsider (below) sharing what appears to be an inside joke with Sullivan
          outside the Speaker’s Lobby stating that he “wishes he had the crowbar.” 30




30
     https://archive.org/details/CcWoDMZenyzdxzy5p (@1:05:24)
                                                48
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38-George Tenney
Tenney opened the door from the inside, possibly with USCP assistance, and he skirmished with
and blocked police around the door. In Opening 1 and Opening 2, no ready explanation is
apparent for why the door opened based on video review. Tenney’s charging documents 31 raise
any number of questions and the circumstances of his pre-trial release are not standard. 32


31
     https://www.justice.gov/usao-dc/case-multi-defendant/file/1412476/download
32
     https://www.dropbox.com/s/f6vk0qjqblfcyax/document.pdf?dl=0
                                                49
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39-Ashli Babbit (shot dead by Capitol Security without warnings, cremated without
honors)




       A few minutes after 37-#PencilBeardInsider was cracking an inside joke on video with
John Sullivan, 39-Ashli Babbit, after confronting police officers for not stopping SAs from
breaking glass (and just prior to their abandoning their posts), punched 40-Zachary J. Alam, a
suspected Antifa agitator, and she appears to be attempting to escape. Instead she was shot in the
neck by a Capitol Police Officer.




40-Zachary Alam




                                               50
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41-#GasMaskTwins
42-#SandstoneHoodie




     REDACTED




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43-#Samuel DiGangi




44-#NewBible




45-#BigOrangeBrawler




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46-#Frizz

                                REDACTED

47-Nancy Barron 48-#MagaHatShieldSharpie


See photo at bottom of page 2


49-#GreyHatProfile




50-LookoutGrey




                                        53
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51-#GreyPuma




52-#CamCrusher




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53-#CrazyGlasses




54-#KennyRogersEarPiece 33


55-#CapitolQuisling
 #CapitolQuisling is unidentified and at large. Very active at access points in the West and East
leading up to his arriving at the East steps just prior to the breakthrough of the initial police line.




REDACTED



33
  First Door Opening while #SmokyInsider berates police officer at conclusion of Opening 1
https://twitter.com/MThymol/status/1486377526998056965?s=20
                                                  55
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56-#DementedWhiteScarf




57-Ricky Christopher Willden 34(#GreenCanMan)(Charged, plea agreement, not detained)




34
     https://www.justice.gov/usao-dc/case-multi-defendant/file/1492861/download
                                                56
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58-#Insider858 (Unidentified)




                                        REDACTED


59-#TraderVick (Unidentified)




                                REDACTED




60-#RedDevil (Unidentified)
                                        57
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                                        REDACTED



61-#FlagHatTwins (Unidentified)




62-Audrey Ann Southard (#UncagedBird) (Charged; detention status unknown)
Southard has all the characterisics of a trained agent provactuer. She is very active on the East
steps and her behavior stands out in the hallway on the way to the Speaker’s Lobby. 35




35
     https://archive.org/details/CcWoDMZenyzdxzy5p (@56:00)

                                                     58
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63-#Let’sGoEarPiece45 (Unidentified)




                                  REDACTED



64- RIDGE IV, Leonard Pearson #LeoRidge4 (Sentenced)
65-#RedBeefJerky (Unidentified)
66- Jeremy K. Baouche (#SubmarinerCuffs) (Charged; Detention status unknown)




                                          59
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67-#BadMexicanPoncho (Unidentified)




                              REDACTED




68-#ElmerFuddGlasses (unidentified)



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                                REDACTED



69-#BlondeSprayer (Unidentified)




Below 69-#blondesprayer is removing barriers with Loerke (3-#MaroonPB AFB#273), Haffner
(#ZZTOPPB AFB 272) and 4-#GooseinGrey all under the watchful eye of USCP and who all
appear to work in concert on the steps and in front of the Columbus Door:




                                           61
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70-#SignBearer (Unidentified)




71-#Insider716 (Unidentified)



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In the right place at the right time…twice. To be interviewed by the French film crew outside
the Columbus Doors and also in the House Hallway just prior to him and the French film crew
being compressed and maced by Police who respond to SAs slamming into rally attendees in the
Senate hallway and pushing them into police.




                                                               REDACTED



72-#MolonSmash (Unidentified)




Key to staging the mob assembly prior to Opening 2, he has a confederate give the “go” sign and
after the door is opened, he “hi-fives” #MagaLongPinkie. Later he may be “casing” the Oath
Keepers and takes part in the attack on media with #GadsdenPouch and others.




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73- #RedOnRedGlasses (Unidentified)




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74-#Individual4 (Unidentified)




75- #VanGray (#MaceStash) entered thought the Senate access point and assisted in removing
temporary barriers.




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76- #BurlytheFirst




#BurlyTheFirst is #1 on FBI Most Wanted List.
https://seditionhunters.org/01-afo/




77- #BigRed



                                              66
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                            REDACTED



78- #BlueHat




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79-#HandsUp




                             REDACTED



80-#WhitePuffyCoatFilmer




Miscellaneous




                             REDACTED




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                         REDACTED




                                 69
